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AO 245B (Rev. 09/11)(VAED rev. 2) Sheet 1 - Judgment in a Criminal Case

 

UNITED STATES DISTRICT COURT
Eastern District of Virginia
Alexandria Division

UNITED STATES OF AMERICA
Vv. Case Number: 1:19CR337-001

ANDREW JON THOMASBERG USM Number:93762-083
Defendant's Attorney: Gretchen Taylor, Esq.
Defendant.

JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Counts One and Two of the Criminal Information.

Accordingly, the defendant is adjudicated guilty of the following counts involving the indicated offenses.

Title and Section Nature of Offense Offense Class Offense Ended Count

18 U.S.C. § 922(a)(6) False Statement in Firearms Purchase Felony October 17, 2017 One

18 U.S.C. § 922(¢)(3) Possession of Firearms by Illegal Drug — Felony March 2019 Two
User

As pronounced on February 28th, 2020, the defendant is sentenced as provided in pages 2 through 6 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material
changes in economic circumstances.

Signed this 28th day of February, 2020.

KDBN
Liam O'Grady SS)

United States District Judge
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Sheet 2 - Imprisonment

 

Defendant's Name: THOMASBERG, ANDREW JON
Case Number: 1:19CR337-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of TWELVE (12) MONTHS AND ONE (1) DAY with credit for time served. This term of imprisonment consists of
a term of TWELVE (12) MONTHS AND ONE (1) DAY on Count One and a term of TWELVE (12) MONTHS AND
ONE (1) DAY on Count Two; counts are to run concurrently to each other.

The Court makes the following recommendations to the Bureau of Prisons:
The defendant be placed at a facility as close to the Northern Virginia area as possible.

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this Judgment.

 

 

UNITED STATES MARSHAL

 

DEPUTY UNITED STATES MARSHAL
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Sheet 3 -— Supervised Release

 

Defendant's Name: THOMASBERG, ANDREW JON
Case Number: 1:19CR337-001

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3) YEARS. This
term consists of a term of THREE (3) YEARS on Count One and a term of THREE (3) YEARS on Count Two, all to run
concurrently.

The Probation Office shall provide the defendant with a copy of the standard conditions and any special conditions of
Supervised Release.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use
of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
periodic drug tests thereafter, as determined by the court.

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution obligation, it is a condition of Supervised Release that the defendant pay
any such fine or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties
sheet of this judgment.

STANDARD CONDITIONS OF SUPERVISED RELEASE

The defendant shall comply with the standard conditions that have been adopted by this court set forth below:

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the
first five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
training, or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
administer any narcotic or other controlled substance or any paraphernalia related to such substances, except as
prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
person convicted of a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer for a special agent of a law enforcement
agency without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement.
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Sheet 3A — Supervised Release

 

Defendant's Name: THOMASBERG, ANDREW JON
Case Number: 1:19CR337-001

SPECIAL CONDITIONS OF SUPERVISION

While on Supervised Release pursuant to this Judgment, the defendant shall also comply with the following additional
special conditions:

I The defendant must remain drug free and submit to mandatory drug testing. The defendant must
satisfactorily participate in, and complete, any inpatient or outpatient drug treatment to which the
defendant is directed by the probation officer.

2. The defendant shall participate in mental health counseling and treatment at the direction of the probation
officer and waive all confidentiality in connection with mental health in order to allow the probation
officer to have direct contact with and exchange of information with his mental health providers.

3s The defendant shall not possess or use a computer or have access to any online service without the prior
approval of the U.S. Probation and Pretrial Services Office. Your cooperation shall include, but not
limited to, allowing the installation of a computer and Internet monitoring program and/or identifying
computer systems, Internet-capable devices, and similar memory and electronic devices to which you
have access. Monitoring may include random examinations of computer systems along with Internet,
electronic, and media storage devices under your control. The computer system or devices may be
removed for a more thorough examination, if necessary. You shall contribute to the cost of such
monitoring services, based on your ability to pay, as deemed appropriate by the U.S. Probation and
Pretrial Services Office.

4. The defendant shall not possess, view, access, or otherwise use material that reflects extremist or
terroristic views or is deemed to be inappropriate by the U.S. Probation and Pretrial Services Office.

5. The defendant shall not possess weapons of any kind and shall not possess any weapon parts.
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Sheet 5 - Criminal Monetary Penalties

 

Defendant's Name: THOMASBERG, ANDREW JON
Case Number: 1:19CR337-001

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

Count Assessment Fine Restitution

One $100.00 $0.00 $0.00

Two $100.00 $0.00 $0.00

TOTALS: $200.00 $0.00 $0.00
FINES

No fines have been imposed in this case.

RESTITUTION

No restitution has been imposed in this case.
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Sheet 6 — Schedule of Payments

 

Defendant's Name: THOMASBERG, ANDREW JON
Case Number: 1:19CR337-001

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

The special assessment shall be due in full immediately.

The defendant shall forfeit the defendant's interest in the following property to the United States:
SEE Consent Order of Forfeiture entered by the Court on February 28, 2020.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment. payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Payments shall be applied in the following order: (1) assessment (2) restitution principal (3) restitution interest (4) fine
principal (5) fine interest (6) community restitution (7) penalties and (8) costs, including cost of prosecution and court
costs.

Nothing in the court's order shall prohibit the collection of any judgment, fine, or special assessment by the United States.
